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                                                                                             FILED
                              District Court of the United States                     IN CLEfU^G CEFiCE
                                     District of Massachusetts
                                                                                       m      9 pn 1 S3
                                                                                     U.S. DlCF r. y-.     ;
John Barth,                                                   Case No.
                                                                                     DiSVi.yVcF, . •'
                Plaintiff


       vs.



City ofPeabody,
RK Realty Trust, Richard Dipietro,
                Defendants                                    COMPLAINT




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Summary

        This is an action to vindicate constitutional rights and obtain compensation for damages to
PlaintiflF caused by the defendants, by public seizure of private property in violation of rights of the
PlaintiflFguaranteed by the Constitution of the United States, and by numerous acts of peijury,
collusion, abuse of office, trespass, vandalism, and the threat thereof.
        Plaintiff has been injured financially in the use and value of his property, and the loss of
extensive expense and effort toward its development, as well as in his income for several years, by
the acts ofdefendants to prevent continuation ofits rightful residential use, established in the year
1800 AD. The defendants have shown knowing disregard of constitutional rights, deliberate and
persistent abuse ofpublic office, criminal alteration oftranscripts and public records, and
persistent and extensive collusion, as well as crime, tort, and the threat thereof, with the intent of
theft ofthe property ofPlaintifffor the benefit ofthe private defendants.
        Having purchased this residential property and spent thousands of hours ofwork and
having made substantial investments in preparing for the replacement ofthe former home there as
his home, and great effort in defendinghis indisputable right to do so. Plaintiffdemands
substantial compensation, and such punitive damages as this court may deem sufficient.
        This action arises from a demand by defendant city in violation ofMassachusetts G.L. Ch.
40A §6, for a zoning *Variance" to replace a pre-existing home built in 1800 and demolishedin
2011, on a residentially zoned lot ofthe Plaintiff, the decision ofthe city's Zoning Board of
Appeals to deny such variance, and the failure ofdefendant city to award damages therefor as
required by Massachusetts G.L. Ch. 79 and Amendments V and XTV, followed by failure ofthe
Essex County Superior Court to award damages caused by this public taking ofthe principal use
and value ofthe property withoutjust compensation, as required by G.L. Ch. 79 §10, in violation
of rights ofthe Plaintiffguaranteed by the Constitutions of the United States and of
Massachusetts. Thisfailure was affirmed by the Massachusetts Court ofAppeals, and further
appellate review was denied by its Supreme Judicial Court on 3/2/2015, whereupon state
remedies were exhausted and the claims ofviolation offederally protected rights were mature.
        TheUnited States Supreme Court declined direct review 10/5/2015, requiring this matter
to be decided in the federal district or appellate courts.
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PARTIES and Owners of Adjacent Properties

1. PlaintiffJohn Barth isthe owner ofland at 4 Lynn Street, Peabody, Essex County,
Massachusetts (Peabody Assessor Map 102 Lot255 shown inExhibits 6-8 and 42-49),
hereinafter "property ofPlaintiff" or "subject property". Plaintiffis represented Pro Se.
2. Defendant City ofPeabody is a municipality ofMassachusetts in Essex county (pop. 52,000)
having a "city" form ofgovernment (council with mayor or manager), and therefore hereinafter
designated "city". The city lacked legal counsel during theperiod of its acts described herein.
3. Defendants Richard Dipietro and RK Realty Trust LLC (hereinafter "RK Trust", Richard and
Kerry Dipietro, trustees, 6Russet Ln, Lynnfield, MA 01940) are owners ofadjacent property at
2 Lynn Street, Peabody, Massachusetts, described asPeabody Assessor Map 102 Lot 255B
(property ID 102-255B), Exhibits 6-8 and 42-49, hereinafter "property at 2Lynn Street". This isa
wooden house unlawfully subdivided into four apartments, with two parking spaces where five
arerequired bythedefendant City, so thatparking is inadequate.
4. The owner ofthe adjoining property at 6Lynn Street (Assessor Map 102 Lot 255A, property
ID 102-255A) is John Garfield, 6 Lynn St.,Peabody, MA01960.
Juiy Demand


       Trial byjury is demanded for all issues of the complaint.
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 Statement Of Claims

                                             COUNTI

        The defendant City of Peabody in collusion with defendants Dipietro and RK Trust has
 acted unlawfully and unconstitutionally both inrequiring and denying itsapproval of a "variance"
 or "special permit" for nonconformity with its ex post facto 1954 zoning ordinance, for
 permission to rebuild the home erected upon property of Plaintiffabout 1800AD and destroyed in
 2011. Suchacts threaten millions ofowners ofhomes subject to ordinances enacted after
 construction, which require larger lots.
         Defendant City ofPeabody has taken all or nearly all value ofresidential property from
 the Plaintiff, by denial ofpermission to continue residential use thereof, and denial ofall other
 economically viable uses thereofby its ex post facto zoning ordinance, while permitting such use
 to continue on all adjacent properties similarly situated, and has denied compensation to the
Plaintiff. Defendant city has thereby acted and conspired under color ofstate law to deny to the
Plaintifftheequalprotection oflaw, to deny to the Plaintiffproperty without due process oflaw,
and to take private property withoutjust compensation, a deprivation ofrights guaranteed by the
Constitution of the United States, Art. I § 9 {expostfacto law), andby Amendments V and XTV,
in violation ofthe Civil Rights Act 42 USC §§ 1981-1986; and in violation of the Massachusetts
Civil Rights Act G.L. Ch. 12 § 1IH et seq, and M.G.L. Ch. 265 § 37, and of the Massachusetts
Constitution andDeclaration of Rights, Art. 1, and Art. 106 of the Amendments, and M.G.L. Ch.
40A §6 (zoning) and Ch. 79 §§6,10 (takings; compensation).
        By these acts thedefendants have also interfered with interstate commerce conducted by
the Plaintiff a resident ofthe state ofMaine, in violationoffederal law.
         The said violations were byactions inofficial capacities, pursuant topolicyof defendant
and by afinal decision maker, and with intent todeprive thePlaintiffofthe said property and the
free exercise ofthe said rights. These acts were made with full knowledge oftheinjury done, by
choice among alternatives, and under color ofstate law, all criteria ofcivil rights violations.
        These acts were done withoutpermission ofthe Plaintiff, and have caused injury to the
Plaintiffin his liberty and quality oflife, the use and value ofhis property, and consequent
damages to his income and ability to obtain future income, and costs of prosecution to obtain
relief for which Plaintiffdemands full compensation. These acts are all matters ofpublic record.
        Although Massachusetts law (MGL) Ch. 40A §6 exempts such rebuilding ofproperties
from zoning ordinances, and Ch. 79 §§6, 10 provides for compensation, the state courts have
denied both the exemption and compensation, applying state law so asto nullify constitutional
rights, and therefore the related statutes ofMassachusetts are unconstitutional as cpplied.
        The facts, exhibits, and argument whereof arelisted and incorporated hereunder.

Fact paragraphs;       Facts 1-7 (demand for variance); 8-14 (denial ofvariance); 15-40 (intent)
Exhibits:              All
Petition for Relief:   Paragraphs 48-68
Memorandum ofLaw Section A, Violations OfThe Civil Rights Acts; Liability OfMunicipality
Violations ofLaw: The United States Constitution, Art. I § 9; Amendments V, XIV;
                       Civil Rights Act42 USC §§ 1981-1986; Constitution of Massachusetts;
                       Mass. Civil Rights Act G.L. Ch. 12§ 1IH et seq, and Ch. 265 § 37
                       Massachusetts Declaration of Rights, Art. 1, and Art. 106 of Amendments,
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                       MGL Ch. 40A (zoning) §§6, 10, 17; MGL Ch. 79 (takings) §§6, 7B, 10-16
                       M.G.L. Ch. 66 (falsification ofrecords) §§ 5A, 6, 16; Ch. 268 §§ 6, 6A



                                             COUNTn


        Defendants Dipietro and RK Trust, by destruction and theft of signs prohibiting trespass,
by trespass upon and theft ofthe use of property ofPlaintiflT, by removal and theft ofboundary
markers thereupon, by threats of arson and vandalismto prevent use ofthe subject property by
the Plaintiff; by peijury to officialsofdefendant city, and by conspiracy with defendant city to
deny its permissionto rebuild upon property ofPlaintiffthe long established home there.
        Have acted and conspired to tcOce private property ofPlaintiff under color ofstate law and
to deny to the Plaintiff the use and value of his property without due process oflaw, and to deny
to the Plaintiffthe equalprotection oflaw, a deprivation ofrights guaranteed by the Constitution
ofthe United States, Art. I § 9 (ejcpostfacto law), and Amendments V and XIV, in violation of
the CivilRights Act 42 USC §§ 1981-1986; and in violation ofthe Massachusetts CivilRights
Act G.L. Ch. 12 § 1IH et seq, and M.G.L. Ch. 265 § 37, and ofthe Massachusetts Constitution
and the Massachusetts Declaration ofRights, Art.l, and Art. 106 ofthe Amendments, and M.G.L
Ch. 266 §§ 76, 94, 121A, and 127,
        And have thereby acted to interfere with interstate commerce conducted by the Plaintiff a
resident ofthe state ofMaine, in violation of federal law.
        These acts were made withfull knowledge ofthe injury done, without permission ofthe
Plaintiff with the intent and effect oftheft ofuse ofthe subject property for themselves, and have
caused injury to the Plaintiffin the use and value of his property, his income and abilityto obtain
future income, and costs of prosecution to obtain relief, for which Plaintiff demands full
compensation, punitive damages, and declaratory relief against these defendants. The courts of
Massachusetts have ignoredthe Constitutionand laws ofthe United States in failing to grant
relief to the Plaintift^ and therefore the related statutes ofMassachusetts are unconstitutional as
applied. The facts, exhibits, and argument whereof are listed hereunder.

Fact paragraphs:       Facts 15-40
Exhibits:              All
Petition for Relief: Paragraphs 48-68
Memorandum ofLaw SectionA, \^olations OfThe Civil Rights Acts; Liability OfMunicipality
Civil Violations:    The United States Constitution, Art. I § 9; Amendments V, XIV;
                       The Civil Rights Act 42 USC §§ 1981-1986;
                       Mass. Civil Rights Act G.L. Ch. 12 § 1IH et seq, and Ch. 265 § 37;
Criminal \^olations:   M.G.L Ch. 266 § 76 gross fi*aud or cheat;
                       M.G.L Ch. 266 § 94 removal ofboundary markers
                       M.G.L Ch. 266 § 121A trespass with motor vehicle
                       M.G.L Ch. 266 § 127 Malicious damage to property
                       M.G.L Ch. *** §§ *** (theft ofuse, threat ofarson, vandalism, trespass)
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Jurisdiction

        Jurisdiction is based upon federal issues and completediversity. This action is brought
under the United States CivilRights Act (42 USC §§1983 to 1986), for violation by the
defendants ofthe rights ofthe PlaintiflFguaranteed by the Constitution ofthe United States,
including his right against the taking of his private propertywithout just compensation
(Amendment V); his right against deprivation of property without due process of law
(Amendment XTV Section 1), his right to the equal protection of the laws (Amendment XIV
Section 1); and his corresponding rights under the Constitution and Laws ofMassachusetts. The
statutes ofMassachusetts, M.G.L. Chapters 40A and 79, are unconstitutional as applied in state
court to deny the PlaintifiF relief from these violations of rights.
        This district court has originaljurisdiction under 28 USC §1331 (federal issue) ofthe
claimsherein of violations ofrights guaranteed by the United States Constitution. This court also
has original jurisdiction under 28 USC §1332(diversity ofcitizenship) ofall claims herein, as well
as jurisdiction ofclaims ofinterference with interstate commerce, as Plaintiff is a citizen of the
state of Maine, whereas all defendants are citizens or entities ofthe state ofMassachusetts.
        This district court has original jurisdiction under28 USC §1343(1 and 2) (conspiracy) of
the claims herein of deprivations of civil rightsby acts ofconspiracy in violation of42 USC §1985
(Civil Rights Act), or failure to prevent such deprivations. This district court hasoriginal
jurisdiction under 28 USC §1343(3) (color of statelaw) of all claims herein of deprivations of
civil rights under color of state law.
        With the denial ofcorresponding claims under state law by the courts ofMassachusetts,
state remedies are now exhausted and these federal claims are ripe. See Memorandum ofLaw,
Law ofthe Takings Clause, United States Law.
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 Authorities


 Cases (referenced primarily in Memorandum of Law)
   Definition of ConstructiveTaking of Property (seeGX. Chapter 79 § 10)
 101. Palazzolo v. Rhode Island, 99-2047 (2001)
 102.   Lucas V. South Carolina Coastal Council. 505 U.S. 1003
      (112 S.Ct. 2886, 120 L.Ed.2d 798) (1992)
 103. Nollan v. California Coastal Comm'n, 483 U. S. 825 (1987)
 104. PennCentral Transportation Co. v. New York City438 U.S. 104(1978)
 105. United Statesv. General Motors Corp. 323 U.S. 373, 378_(1945)
 106. Pennsylvania Coal Co. v. Mahon, 260 U.S. 393 (1922)
 107. Old Colony & Fall River R.R. v. County ofPlymouth, 14 Gray 155, 161
 108. James G. Cayon vs. City of Chicopee & another, 360 Mass. 606, 609 (1971)
 109. Gomillion v. Lightfoot 364 U.S. 339 (1960)
 110. Mesag Aselbekian & others vs. Mass. Turnpike Auth. 341 Mass. 398 (1960)
 111. U.S. V. 564.54 Acres, 441 U.S. 506, 511 (1979)
   Massachusetts Zoning Cases
 112. Derby Refining Co. v Chelsea 407 Mass 703 1990
 113.   JCa-Hur Ent. v 2BA of Provincetown 424 Mass 404
114.    Pioneer Insulation v. Lynn 331 Mass 560
115.    Revere v Rowe Contracting 362 Mass 884

   Civil Rights Act 42 USC § 1983-1985
        Purposes
1. Monroe v. Pape365 US 173(1961) (purposes; stateremedies not prerequisite)
2. Mitchum v. Foster, 407 U.S. 225, 242 (1972)
        Liability
10. Parratt v. Taylor, 451 U.S. 527 (1981)
11. Monell V. Department of Social Services of New York, 436 U.S. 658, 690-691 (1978)
12. City ofCanton v. Harris, 489 U.S. 378 (1989); Gold v. City ofMiami, 1998 WL 54803 (11th
    Cir. 1998); Sewell v. LakeHamilton, 117 F.3d 488 (11th. Cir. 1997)
13. Pembaur v. City of Cincinnati, 475 U.S. 469 (1986); Bryan County v. Brown, 520U.S. 397
    (1997)
14. City of St. Louis v. Praprotnik, 485 U.S. 112, 127(1988)
15. Patsy V. FloridaBoard ofRegents, 457 U.S. 496, 501 (1982)
16. Zinermon V. Burch, 494 U.S. 113,124, 132(1990)
   (concurrent state remedies not a bar)
      Capacities of Defendants and Remedies Against Defendants
20. Hafer V. Melo, 502 U.S. 25, 31 (1991); Kentucky v. Graham, 473 U.S. 159 (1985)
21. Cityof Oklahoma CityV. Tuttle, 471 U.S. 808 (1985)
22. Kentucky V. Graham, 473 U.S. 159, 165 (1985)
23. Will V. Michigan Dept. of StatePolice, 491 U.S. 58 (1989)
24. Ex Parte Young, 209 U.S. 123 (1908)
25. Carey v. Piphus, 435 U.S. 247, 266-267 (1978) (no limit on damages)
26. FarrarV. Hobby, 506 U.S. 103, 112(1992) (no limit on damages)
27. City ofNewport v. Fact Concerts, 453 U.S. 247 (1981) (punitive damages)
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28. Smith V. Wade, 461 U.S. 30 (1983) (punitive damages)
29. Florida CityPolice Department v. Corcoran, 661 So. 2d 409 (Fla. 3d DCA 1995)
        Denial of Equal Protection of Law
30. rick Wo V. Hopkins 118 US 356 (1886)
31. Villageof Willowbrook v. Olech, 528 U.S. 562, 120 S. Ct. 1073 (2000)
        Denial of Liberty and Property Without Due Process of Law
40. Board ofRegents v. Roth, 408 U.S. 576
41. Cleveland Board of Education v. Loudermill, 470 U.S. 532 (1985); Baker v. McCoUan, 443
    U.S. 137, 145 (1979)
42. Hudson v. Palmer, 468 U.S. 517, 533 (1984)
        Immunity
50. Board ofRegents v. Roth, 408 U.S. 576
51. Cleveland Board ofEducation v. Loudermill, 470 U.S. 532 (1985); Baker v. Forrester, 484
    U.S. at 227, 108 S.Ct. at 544, 98 L.Ed.2d 555
52. Supreme Court Of Virginia et al.. Appellants, v. ConsumersUnion OfThe United States,
    Inc., et al. 446 U.S. 719 (100 S.Ct. 1967) 1980
53. Orville E. Dennis v. Sidney Sparks, et al 449 U.S. 24 (101 S.Ct. 183) (1980)
Other Authorities
60. Constitutional Remedies: A Reference Guide to the United States Constitution,
                      Michael L. Wells, Thomas A. Eaton
61. TheMeasure ofJust Compensation, K. Wyman, NYU

Constitutional Provisions, Statutes, and Ordinances
   The Constitution of the United States
       Article I § 9 (ex postfacto law).
       Amendment V:
              "No person shall be ... deprived of life, libertv. or property, without due process of
              law: nor shaU private propertv be taken for public use, without lust compensation."
       Amendment XIV Section 1:
              ".. .nor shall anv State deprive anv person of hfe. libertv. or propertv. without due
              process oflaw: nor denv to anv person within its jurisdiction the equal protection
              of the laws."
   The Constitution of Massachusetts
Statutes of the United States
      42 use §§ 1983 to 1988 (CivU Rights Act)
      § 1983 "Every person who under color ofany statute, ordinance, regulation, custom, or
             usage, ofany State or Territory or the District ofColumbia, subjects, or causes to
             be subjected, any citizen ofthe United States or other person within the
             jurisdictionthereofto the deprivation of any rights, privileges, or immunities
             secured by the Constitution and laws, shall be liableto the party injured in an
             action at law. Suit in equity, or other proper proceedingfor redress..."
      § 1985 "Iftwo or more persons in any State or Territory conspire...for the purpose of
             depriving, either directly or indirectly, any person or class of persons ofthe equal
             protection ofthe laws, or of equal privileges and immunities under the laws, or for
             the purpose of preventing or hindering the constituted authorities ofany State or
             Territory from giving or securing to all persons within such State or Territory the
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              equalprotection ofthe laws;... if one or more persons engaged therein do, or
              cause to be done, any act in furtherance of the object of such conspiracy, whereby
              another is injured in his person or property, or deprived of having and exercising
              any right or privilege ofa citizen ofthe United States, the party so injured or
              deprived mayhave an actionfor the recovery ofdamages..."
       § 1986 "Every person who, having knowledge that any ofthe wrongs conspiredto
              be done, and mentioned in the preceding section [42 USCS § 1985], are about to
              be committed, and having powerto prevent or aid in preventing the commission of
              the same, neglects or refuses to do so, if suchwrong&l act be committed, shall be
              liable to the party injured, or his legal representatives, for alldamages caused by
              such wrongful act, which such personby reasonable diligence could have
              prevented;"
       Statutes of Massachusetts
              Massachusetts Civil Rights Act G.L. Ch. 12 § 1IH et seq.
              Massachusetts Declaration ofRights, Art. 1, and Art. 106 ofAmendments
              G.L. Chapter 12 §11H,I (Constitutional Ri^ts)
              G.L. Chapter 40A (zoning authority; variances) §§6, 10, 17 et al
              G.L. Ch. 66 (falsification ofrecords) §§ 5A, 6,16
             G.L. Chapter 79 (public taking of private property) §§ 6, 7B, 10, 12, 14,
                     16, et al
             G.L. Chapter 265 (CivilRights Act) § 37
             G.L. Ch. 266 § 76 gross fi^aud or cheat;
             G.L. Ch. 266 § 94 removal ofboundarymarkers
             G.L. Ch. 266 § 121A trespass with motor vehicle
             G.L. Ch. 266 § 127Malicious damage to property
             G.L. Ch. 268 §§ 6, 6A
Ordinances of City of Peabody
             Zoning §§1.4, 15.2.1 (variance required), and 15.6.2.B (exemption)
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Fact: The Land, Prior Uses, And Conveyances
1. A dwelling upon the subject property ofPlaintiff was constructed c. 1800 AD, a farm or village
dwelling oflog frame construction beside Tapley Brook, the first and oldest home ofthe several
surrounding blocks. The nearby structures and lots are derived in title and land area from this
property. The adjacent structure at 2 Lynn St. was built c. 1899 and the structure at 6 Lynn St
was built ofconcrete block presumably in the mid 20*'' century, both one hundred years or more
after the structure upon the subject property (Exhibits 6-8). Like all properties similarly situated,
including both adjacent properties (Exh. 33-38, 41-44), over two centuries the property had
become "nonconforming" with ex post facto City zoning ordinances.
2. The subject property at 4 Lynn St (Map 102 lot 255, Assessor property ID 102-255) and the
adjacent property at 2 Lynn St (lot 255B) were a single lot prior to April 24, 1987 when the lots
were separated per Subdivision Plan recorded as Plan Book 227 Plan 7 (Exhibit 43 showing Lots
A and B) and Plan Book 279 Plan 34 (Exhibit 44, 8/1/1991, showing Lots A, A2, and B) in the
Essex South Registry ofDeeds (hereinafter "Registry"). Note that the annotation "easement" in
the 1987 plan Exhibit 43 was removed from the 1991 plan Exhibit 44 because it does not refer to
any recorded easement, and does not conform to Land Court standards for easement statements
in plan drawings, nor to standard practice in representing easement area, purpose, and beneficiary.
These lot division plans did not create a "subdivision" under the Subdivision Control Act G.L. Ch.
41 §§ 81K et seq, because both lots were located on a public way, and both plans were
accordingly designated "Approval Under Subdivision Control Law Not Required" with signatures
of the chairman of the PeabodyPlanning Board. Theselots remained under common ownership
until the subject property (lots A2 and B as shown on Exhibit 44) was conveyed 1/6/1998
(Registry Book 14540 Page 550).
3. Prior to conveyance to Plaintiffin 2011, the subject property had passedthrough foreclosure,
was vacant for several years as title passed eventually to FHLMC, and orders by defendant city to
correct health and safety concerns with the home met with no timely response by prior owners
over a long period, whichled to a hardened and persistent outrage ofcity officials against the
property itself, the onlytarget oftheir outrage which they could potentially afreet. Cityofficials
apparently made informal plans and verbal assurances to neighbors offuture use ofthe land for

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their private parking. Plaintiff made efforts overseveral months to purchase the antique structure
for renovation, an activity with which he has considerable experience, as it was secured and did
not in fact pose a risk to persons outside (engineering report 7/13/2010 available). Defendant city
building ofhcial Goggin madeemphatic statements to Plaintiff andto the property brokerthat
renovation would not be permitted, and a demolition order was issued by defendant city. The
antiquestructure was demolished 4/9/2011 pursuantto this order.
4. Plaintiff having made prior studies of constitutional lawand land use law on behalfof a charity,
knewthat the destroyed structure could be replaced under any state law and ordinance consistent
with Amendment V ofthe US Constitution, "nor shall private property be taken for public use
withoutjust compensation." Having needfor a residence near Bostonto continue his engineering
work despite a medical problem limiting commuting time. Plaintiffacquired the lot 9/8/2011 (Exh.
9) well awarethat zoning nonconformities have no effectupon the title rightto rebuild a home,
and that Massachusetts G.L. Chapter 40A §6 (Zoning Act; Pre-existing Nonconforming Uses)
specifically exemptsthe replacement of nonconforming homesfi^om zoningordinances where this
"does not increase the nonconforming nature of said structure." Due to a 12 month period for
rebuilding imposed by defendant city, a buyer needed unique circumstances to use the residential
value (knowledge of statutes and constitutional law, need for the dwelling, cash to biiildit
because financing requires permit, and skills in permittingand construction processes). Plaintiff
was fortunate in having these circumstances, the seller wished to be rid ofthe complications, and
no buyers other than Plaintiffmade offers, so the price was low. But the value to such a buyer
was the full value of a residential lot in this location. The subject property was conveyed to
Plaintiff by deed ofFHLMC 9/8/2011 (Registry Book 30654 Page 595, Exhibit 9). Plaintiff
proceeded rightfullywith his plan to replace the former dwelling.
5. Plaintiff promptly had a site plan for the demanded variance (fi-om dimensional limits ofthe
more recent city zoning ordinance) drawn by the same surveyor (Christopher Mello) who had
made the recorded lot plans, giving Mello a site plan drawn by the Plaintiff to work fi-om, showing
the proposed site features, and filed application9/26/2011 for a building permit to replace the
recently demolished home. Mello made his drawing (Exhibit 45) in a manner openly hostile to the
client interests, showing none ofthe proposed site plan features needed for a variance, but instead
showing a list of nonconformities with the zoning ordinance, stated (letter available) that his


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 drawing was suitable for a ZBAvariance application, addednotation ofa non-existent "easement"
 suggested on his 1987 drawing (Exhibit 43) but removed from his 1991 drawing (Exhibit 44), and
 did not inform Plaintiffthat the drawing was ready until it was needed.
 6. Plaintiffproceeded properly to replace the home for use in his retirement, obtaining
 Conservation Commission approval (Exh. 13). The proposed reconstruction of the former home
 was designed to be"no more nonconforming" with thezoning ordinance (Exh.8, 47) so as to be
 exempt from zoning ordinance requirements under M.G.L. Ch. 40A § 6. It was designed to lie
 entirely within the outline ofthe former home, and the final design occupied only the back half of
 the "footprint" ofthe former home (Outline Plan) with no violation ofother zoning requirements.
 This required the successive design of six different homes for theproperty to accord with
 preferences ofthe building department, zoning board, and conservation commission of defendant
 city, four ofwhich were complete engineering designs. Plaintiffwas also required to spend many
 months in regulatory compliance efforts, hiring ofsurveyors and an environmental consultant, and
 attending manymeetings ofthis board and commission far from the home ofthe Plaintiffin
Maine. All ofthis investment was made with the assurance ofstatutes and constitutional rights
that permission to replace thehome could not belawfully denied, as "reasonable investment-
backed expectation ofvalue." Such expense (3 59,60) ispart ofthe improvement value ofthe
property.

7. Plaintiffapplied 9/26/2011 for a building permit to replace the demolished home, and received a
permit denial letter (Exh. 11) 10/14/2011. Despite the Ch. 40A §6 exemption for replacing the
former home, the defendant city zoning ordinance §1.4 and §15.2.1 requires avaripce from its
Dimensional Controls (Exh. 41) from its Zoning Board ofAppeals (ZBA), as noted in the permit
denial letter (Exh. 11). The Plaintifftimely applied for the variance demanded (Exh. 10, 14),
noting that denial ofthe principal use ofproperty constitutes constructive taking ofprivate
property, requiring just compensation.
 8. Many efforts were made by defendant city officials to block the use ofthe subject property for
the benefit ofdefendant Dipietro, owner ofan adjoining property, who has committed trespass,
peijuiy, theft and conspiracy to commit thefl, vandalism, and threats ofdestruction togain use of
the property for his own parking (see facts 15-40). These attempts to deny rights ofthe Plaintiff
greatly increased the expense ofregulatory compliance. However, no objection was found which

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was not overcome bythe investments of the Plaintiff. The plans met regulations, andmost
neighbors agreed that the new home would improve the neighborhood.
9. Zoning ordinances enacted since 1800 AD restricted land uses for this zone RIA to residential
and related uses (Exh. 40), andmade the subject and adjacent properties "nonconforming" with its
ex postfacto dimensional requirements (Exh. 41,42), but did not preclude continuing residential
use of the subject property or the adjacent nonconforming properties (Exh. 30-38b), the right
whereofhad passed with title to the Plaintiffas to allowners of suchproperties. Residential use
had continued on this parcel for overtwo centuries (Exh. 30-32b), and on the adjoining parcels,
underlaterzoning ordinances as "nonconforming" properties, until demolition of the former home
in 2011, and continues now on both adjoining properties (Exh. 33-38b).
10. As shown in the Dimensional Controls table (Exh. 41), and site plan (Exh. 42), the present
minimum yard dimensions leave no buildable area on the subject property (Exh. 11,14, 41-42).
        Item                    Zone RIA minimum         Subject
        Lot Size (sq.ft.)             15,000             1,841
        Frontage (ft.)                125                43
        Front + Back Yard (ft.)       55                 43 to 66
        Sum of side yards (ft.)       30                 29 to 43

11. As shown in the Use Table ofthe Zoning Ordinance (Exh. 40) for zone RIA, only Residential,
Educational, Church, and Agricultural uses are permitted by right. All ofthese require structures
precluded by the dimensional controls (Exh. 41), except Agricultural use which is clearly
uneconomic in smallisolated lots, and Accessory use (requiring a permitted principaluse) for
which the value is negative. Therefore the value ofthe lot required continuation ofthe residential
use, and denial of residential use would take all or nearly all of the value ofthe lot.
12. Plaintiff promptly applied for the demanded variance, scheduled for hearing at the November
2011 meeting ofthe Zoning Board ofAppeals (hereinafter "ZBA") ofdefendant city, mentioning
the constitutional issues in the application, and wrote a letter to the ZBA (Exhibit 10) to inform
them ofthe constitutional issues and the specific provisions of state law (G.L. Chapter 40A
Section 6, 10) and the Peabody Zoning Ordinance (15.6.2.B) which facilitate variances in
accordance with the constitutional right. This letter informed the ZBA that denial would
constitute a publictaking of private property and would requirejust compensation, which at that



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 early point would have been somewhat more than the 2011 assessed land value plus initial
 architecture, engineering and site planning services and expenses.
 13. Defendant city Conservation Commission (hereinafter "Commission" or "CC") agent Lucia
DelNegro stated to Plaintiffthat she knew building ofiicial Goggin and the ZBA members, and
hoped that "the ZBA will block" replacement ofthe subject home before the matter came to the
Commission for its permission. Defendant city building official Goggin stated to Plaintiffthat he
knew"several peopleon the ZBA" and was "sure" that it would block rebuilding there.

Fact: Denial Of The Principal Use Of Subject Property By Defendant City

14. At its meeting 7/16/2012, upon motionto approve the application for variance, the ZBA
voted withthree in favor and two opposed, which underG.L 40A is not sufficient to approve a
motionbeforea ZBAwith five members, and thereby denied the variance required by defendant
city to replace the home on the subject property, as so stated then by its Chairman. Plaintiff
promptly petitioned for compensation by demand following the vote, but the hearing was closed
without such action. The notice to Plaintiffof denial of the variance application (Exhibit 14)
establishes public taking of the established residential principal use of the subject property bythe
defendant. The failure ofdefendant to award damages to Plaintiffconcurrent with the act of
taking or petitionofPlaintiffis in violation of G.L. Chapter 79 §§ 6 and 10, and in violation of his
right to just compensation guaranteed by the Massachusetts Constitution and the U.S.
Constitution, Amendment V andXIV, andthereby of the Civil Rights Act 42 USC §§1983-1988.

Fact: Torts Of Defendants Prior To Denial Of The Principal Use of Subject Property

        The following facts describe acts ofthe defendants and others, which establish the nature
of their wrongfiil intent, as well as othertorts inviolation ofconstitutional rights of the Plaintiff.
15. In discussions vwth Goggin and DelNegro prior to any ZBA meeting. Plaintiffsaw that very
special consideration wasbeing given for benefit of defendant Dipietro, owner of one adjoining
property, sufficient to suggest that city officials felt an overriding special obligation to him on the
basis of some private relationship or affiliation. Dipietro did not respond to two letters fi*om
Plaintiffproposing discussion of parking and layout issues, but upon being sent notice of the ZBA
meeting, he left a message rudely demanding all information, which was sent. Hedid not respond



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to two or three polite messages at the number from which hehad called, butinstead arranged to
influence the ZBA through others.
16. Three theories without legal foundation were found to guide the actions of officials of the
defendant city and others relative to this property, and are presented here only as necessary to
understand their actions. The &st was that, ifPlaintiff had obtained even a small lot at a low price
because he recognized that it remained a buildable residential lot, despite the declarations of the
building official, then somehow the defendant city or others had a right to obtain the property
fromthe Plaintiff at the same price, and if refused (as anyone would refuse in like circumstances),
to use extortion, collusion, peijury, andthe abuseofpublic office, to take the property for their
own purposes or at least destroy its value to the Plaintiff. Thedefendant cityofficials andthose
whomthey sought to benefit clearly shared this theory, and the pricePlaintiffhad paid was often
cited or alluded to between them to recruit others to oppose his interests. But this theory has no
basis in law whatsoever, and is in fact no more than a rationale for crime.
17. The second falsetheory among the city officials, was that if the property or its value were held
by a court to have been taken by the city, it would only have to compensate Plaintifffor what he
paid, rather than the required fair market value ofthe residential lot (prior to acts by the city to
deny the residential primary use thereof) plus development and litigation costs. To discourage this
incorrect reasoning, which was very evident among city officials. Plaintiff advised the ZBA by
letter (Exhibit 10) that "just compensation" means fair market value, whereupon the defendant
city had its assessor reduce the assessed value ofthe landhy 97 percent from $112,200 to $3,200
(Exhibits 30, 31,and 32; see Demand for Relief, Assessed Values Provided by Defendant) without
noting the change of ownership or the removal ofthe prior home, despite noting the more recent
sale price to Plaintiff. This selective alteration ofthe public record of the Assessor of defendant
city clearly shows intent to create the illusion oflow value to be compensated, an act of peijury
and violation of G.L. Chapter 66 (public records) §§ 5A, 6, and 16. In fact, if the assessments of
the adjacent two parcels by the defendant city are taken as fair, the 2015 fair market value (see
paragraph 53) of the land only is $113,412, over 35 times the tampered assessed value, to which
must be added the other damages of development time and investment, the "investment backed
expectation ofvalue" upon which compensation for public takings is based.



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18. The third false theory whichguided city officials was the notionthat, becausePlaintiff
obtained the subject property at a low price, private contractors should be encouraged with that
information to charge him many times the reasonable and customary fees for their services, and
multiple fees for multiple city proceedingsshould be sought.
19. At the ZBA meeting 11/9/2011, Conservation Commission agent DelNegro attended without
request, andjust priorto hearing this matterDelNegro spokewitha ZBA member and mentioned
the previous list price ofthe lot as the amount paid by the Plaintiff.
        "We"ll just take the land then. We'lljust take it." stated the ZBA member.
        "That's what I was thinking." replied Delnegro.

        The ZBA was then told by defendant city officials Goggin and DelNegro, seated among its
members and speakingtogether, that they preferred that the variance be denied, but could not
state any cause within the jurisdiction ofthe ZBA, and DelNegro stated that the CC "has
objections" although the Commission had never met on the matter nor heard the Plaintiff, and
later acted favorably in the matter. The ZBA chairman noted that such objections were not within
the jurisdiction ofthe ZBA, but these statements were not transcribed into the published minutes
of the meeting. The Plaintiffwas astounded at such brazen and confident abuse of office.
20. At this meeting the ZBA heard a resident Puleo (who lived more than 300 feet away across
the intersection on another street) object on behalf ofadjoining property owner defendant
DiPietro that he thought the subject property should be used only for parking for DiPietro
(regardless of its established residential use predating all other buildings in the area). He claimed
that there had been numerous traffic accidents nearby involving children due to cars backing out
of driveways, and brought a child intended to dramatize his claim. But the subject property plan
was designed with a semicirculardriveway specifically to prevent backing out ofthe driveway
(Exhibits 8,47), unlike most other properties in the area against which the objector had no
complaint, includingproperty of defendant Dipietro and properties adjacent to that ofPuleo, and
its use for parking would increase any vehicle maneuvering hazard. Furthermore, both parcels
adjoining the subject property (including that ofDiPietro) do require residentsto back out onto
the street, so the objector knew that he was accusing the innocent on behalf ofthose causing the
problem. Puleo's land use preferencewas clearlystated as a peijuiy to benefitDiPietro, and was
deliberately misrepresented as a matter of publicconcern. The ZBA continuedthe matter to

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 Januaryto check police accident records, which did not confirm the claimofrisky parkingat local
 properties. This meeting established the intent of certaincity officials to serve purposes at
variance with public duty, and was the first known public effortto influence ZBA members by
means ofperjury arranged by defendant DiPietro.
21. At the ZBA meeting 1/23/2012 its chairman Panos indicated that the ZBA had "no substantive
objections" to the variance. He stated that the ZBA had that day received a letter fi*om defendant
citydirector of Public Services Robert Langley (Exhibit 12)requesting that two traffic signal
polesand curb cuts on the adjacent sidewalk be indicated on the site plandrawing, as these
essential features had beenomitted by surveyor Mello. The hearing was continued to February
2012 to permit the drawing to be revised in consultation with city engineer ^^illiam Paulitz.
22. Plaintiffalsoneeded a "resource area" drawing for the Conservation Commission (showing
any wetland vegetation and the flood zone line). Lines would also be drawn between several
resource flags, which Plaintiffwould have to have placed at separate expense by a wetland
scientist. The surveyor Mello had already made the base drawing, and so would need to make
only a few additional measurements, at most one halfday, whereas another surveyor would have
to re-survey the lot. Mello refused to simply correct hisvariance site plandrawing as requested by
the city engineer, and stated that although he hadcharged $300 for the survey, hewould now
charge $2200 to do "another survey" simply to addthe omitted traffic poles and curb openings,
and show the flag lines. The $2200 charge wasto include subdivision "playgrounds and recreation
areas" on this small 43x66 ft lot. This quote was double the amount paidby Plaintifffor
professional surveys oflarge land areas inMaine with complex boundaries, roads, streams, ponds,
and difficult observation conditions. The Mello quote was plainly extortionate, exploiting his
longstanding familiarity with defendant city Conservation agent DelNegro.
23. Plaintiffobtained a verbal quote of $330 forthe same drawing byGregory Hochmuth
(Hancock Associates) on 1/25/2012, but afterHochmuth spoke with DelNegro (as Mello had
done) the quote was raised to $2000. This was the amount DelNegro believed had been paid for
the lot (the advertised price stated by DiPietro). When informed that this was actionable collusion
with DelNegro, Hochmuth agreed byemail to charge theoriginally quoted amount, but later
refused to perform the service altogether, an act ofdiscrimination. Plaintiff could obtain a fair
quoteonly by preventing contractors fi-om speaking with DelNegro. But most contractors were

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larger companies demanding a minimum fee for "subdivision planning", so that these collusions by
DelNegro reduced theoptions to those contractors who did notreturn calls.
24. PlaintiflF sought to contact defendant city engineer Paulitz to determine whether Plaintiff (an
engineer familiar with survey issues and having suitable instruments, but not a licensed surveyor)
could himself add thetwo traffic poles and curb openings to the existing drawing to meet thecity
engineer's request. When anemail message at Paulitz' office elicited no response for several days.
Plaintiffleft him a telephone message. About a week later, with no response. Plaintiffagain left
him anemail message, and still later a more urgent telephone message. During this period Plaintiff
prepared a revised drawing based upon the inadequate site plan by Mello, and obtained from the
same citv engineering department a recent drawing of the area, showing thelocation of the same
two traffic signal poles and curb openings requested by the city engineer (Exhibit 46).
25. As Plaintiffsurveyed the subject property, defendant DiPietro aggressively drove upon and
parked upon the subject property himself^ a behavior which he often repeated to stake an unlawful
claim to the subject property. Plaintiffmade a fiiendly introduction and discussed his plans to
replace theformer home ina manner agreeable to theneighborhood, Dipietro angrily opposed any
plan to "build in front ofmy garage"(located behind and to one side ofthe subject property, and in
no way affected by therebuilding). Plaintiff suggested a friendly agreement to trade the use of a
comer of the subject property (which would make thegarage access somewhat easier) for the use
of a comer of Diepietro property (which would make driveway access of the subject property
somewhat easier). DiPietro angrily refused. After an effort to make friendly discussion of Plaintiff
efforts to resolve the crowded parking in the area. Plaintiff suggested that they "begood
neighbors" and "cooperate" to resolve the crowded parking situation. DiPietro angrily and
"absolutely" refused, and stated that hewould oppose all city permitting and plans of thePlaintiff,
without any lawful claim at all. He claimed that the subject property should be his, although
admitting that he had made no offer to purchase the property during thetwo years thatit had been
for sale at a modest price. He had relied upon what he considered to be assurances of building
official Goggin that he would have the exclusive use of the property for parking without even
purchasing it, and he intended to force that situation by means of crime.
26. During the Plaintiff survey a belligerent, obese tenant residing inthe Dipietro building began
walking aggressively back andforth across the subject property of Plaintiff. She denounced the

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property and neighborhood, was outraged that anyone would consider "taking our parking", and
statedto Plaintiffthat "We're just going to break all your windows if you build here." Plaintiff
quietly went about his survey measurements to the exasperation of the tenant, who went inside to
consult others, and within a few minutes had summoned the police to enforce her felonious claim
to the subject property! The officer inquired as to the facts and left after severalminutes.
27. During the Plaintiff survey anothertenant of the DiPietro building advised the Plaintiffthat
defendant DiPietro is an electrician then being investigated for "jumpering electric meters" to
obtain electricity without payment, who would not cooperate in any way. Plaintiffcompleted his
survey work. All ofthe markers were stolen within days.
28. Plaintiff therefore wrote a letter to the members ofthe ZBA and the Conservation

Commission(exhibit available) advisingofthe threat by DiPietro ofinterference with the
permitting process, the threat of felony crime by DiPietro and his tenants, and their cause, which
was simply that DiPietro had subdividedhis duplex-size house into four apartments served by only
two parking spaces, contrary to the zoning ordinance (zone R1A requires one parking space per
unit plus one more parking space per property), and had decided to steal property of Plaintiff
under the pretence that the deficiencywas owed to him somehow, rather than his own problem.
29. With no response fi'om the city engineer. Plaintiff again sent Paulitz an email, this time
including a revised lot drawing showing the missingfeatures, based upon both the city drawing
and more accurate measurements made by Plaintiff, and asking the city engineer whether such a
revision would meet his request to the ZBA. Again Paulitz made no response, again Plaintiffleft
an urgent telephone message, and for the skth time Paulitz refused to respond. Plaintiff concluded
that the matter was insignificant, and submitted the revised drawing to the ZBA.
30. At its meeting 2/27/2012, the ZBA pretended that it could not accept the prior drawing
revised as it had requested, a drawing equivalent in these details to the drawing the city engineer
already had on file. Despite the presence ofthe desired features on an existing city engineering
drawing made known to Paulitz, despite having an accurately revised drawing, and despite the
claim ofall ZBA members that they knew the small lot very well already, the ZBA demanded that
yet another drawing be made by a surveyor and that the variance application be withdrawn for
later resubmission (with further fees) rather than continue the hearing. Plainly the ZBA was in
collusionwith DiPietro, Mello, Goggin, and DelNegro to unlawfully obstruct the variance.

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 31. During this period Plaintiffalso applied to the Conservation Commission ofdefendant city,
 first for a Request forDetermination of Applicability ("RDA") of theMassachusetts Wetlands
 Protection Act 310 CMR ("WPA"). Although city Commission agent DelNegro was notified by
 the Plaintiffin a letter and insupporting documentation that 310 CMR 10.58 (6) specifically
 exempts thereplacement of structures built prior to the effective date of theAct, the Commission
 found atits hearing 1/9/2012 that the Act was applicable, requiring the Plaintifftogo through the
 far more costly Notice ofIntent process thereunder ("NOI") for the proposed replacement.
 32. Despite the fact that there were no wetland resources on the property (it was almost entirely
 paved or built upprior to thestructure demolition, as shown by Exhibits 7 and 43-49, and
 DelNegro had laughed atthe idea that there might bewetland resources there) or on the narrow
 adjacent lot between the property and Tapley Brook (also almost entirely paved orbuilt up),
 despite the fact that DelNegro had required no drawings or NOI process at all for themuch more
 intrusive project ofdemolition ofthe prior structure 4/9/2011 by the prior owner on the same site,
despite the statement oftheMassachusetts DEP Wetlands Program ChiefMichael Stroman that
DelNegro should be qualified to simply take a lookat such a small lot to determine whether there
were any wetland resources there worth surveying, and despite an accurate and detailed plan
 thereoflaboriously prepared by the Plaintiffshowing elevations and flood plain based upon the
 city engineering drawing (Exhibit 48), the Commission demanded aresource area staking by a
 wetland scientist, and a new professional survey. With difBculty the Plaintiffcontracted and paid
for professional staking and re-survey by awetland scientist and surveyor. The professional
resource area drawing (Exhibit 49) differed very little in layout and elevations fi'om the plan
prepared by the Plaintiff(Exhibit 48), and confirmed the complete absence ofvegetated wetland
on the subject property. At its meeting 5/17/2012 the Conservation Commission finally approved
the plan to replace the former dwelling on the subject property (Exhibit 13, Order ofConditions).
33. The Conservation Commission chairman Frank Lee stated during the hearing that he had
received communication fi-om the city engineer Paulitz that the plan prepared for the Conservation
Commission (Exhibit 49) met the city engineering requirements as well, with no change needed.
Together with the priorstatement of ZBAChair Panos that the ZBAhad "no substantive
objection" to the proposed replacement ofthe dwelling, apart fi'om the requirement ofthe city


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traffic engineer for the drawing supplied, this establishes conclusively that the defendant citv in
fact had no substantive objections remaining at this point.
34. However, defendant city building official Goggin declined to accept this drawing (Exhibit 49)
asa zoning site plan, sothat Plaintiffwas forced to contract further to have yet another site plan
prepared (Exhibit 8). The ZBA now had three independent drawings with theinformation
requested by thecity engineer, who had a fourth such drawing, and itschairman had already
stated that it had no other substantive objectionto replacement ofthe home.
35. At its meeting 7/16/2012, the ZBAheard the matter once more, andPlaintiffanswered all
questions. ZBA Chairman Panos now claimed thatthedefendant city could, for unstated
purposes, challenge the prior subdivision plans (Exhibits 43 and 44, 1987 and 1991) as potentially
nonconforming withthen-existing zoning dimensional requirements, so that the subject property
would be "not a lot at all", although both plans had beenprepared by its favorite surveyor. But in
fact, these lot division plans did not createa "subdivision" requiring approval underthe
Subdivision Control Act G.L. Ch. 41 §§ 81K et seq, because both lots were located on a public
way, and both planswere accordingly designated "Approval Under Subdivision Control Law Not
Required" with signatures ofthe chairman ofthe PeabodyPlanning Board (Exhibits 43, 44). In
addition, both planshad been recorded more than twentyyears earlier(thereby extinguishing any
such claim), the dimensions thereofwere no more nonconforming than those ofthe lot with the
same buildings prior to subdivision, and the plan with lot dimensions was furthermore long
accepted in the separate records of defendant city tax assessor for both parcels. Furthermore, no
such objection to a subdivision plan would operate only upon one ofthe two properties divided as
opposed to the other (of defendant DiPietro), and any such objections would operate as well
against prior subdivisions ofthe combined parcels from prior larger parcels, because all lots in the
immediate area are smaller than required under the present zoning ordinance. This false claimwas
an attempt to scare offthe Plaintifffor benefit of defendant DiPietro, and ZBA chairmanPanos
later admitted that he could not object on that basis.
36. A member of the ZBA asked Plaintiff whether he had known of legal complications involved,
prior to purchase ofthe subject property. Plaintiffresponded that he had made a study of
constitutional law related to public takings on behalf ofa charity some years before, and knew
that the principal residential use could be continued under any state law and regulation consistent


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 withthe United StatesConstitution, and withthe constitutions of states with similar provisions
 such as Massachusetts. Plaintiffbriefly discussed the issues ofjust compensation for public
 takings, emphasizing fair market value, and the provisions within state laws of exceptions for pre
 existing uses, which prevent needless and costly litigation ofthe constitutionality of statutes.
 37. The ZBA thenheard interested parties, including defendant Dipietro, who nowclaimed falsely
 that the proposed structure (entirely within the footprint of the former home) "blocks halfof my
 driveway" (the driveway is about 8 feet wideat the narrowest pointbetween his structure and his
 lot boundary, and the former and proposed structure on the subject property are about another 3
 feet away, as clearly shown on the ZBAdrawings). Dipietro also falsely claimed an easement over
 the subject propertyfor his benefit, basedupon the erroneous lone word "easement" on the 1987
 subdivision drawing (Exhibit 43), but not appearing on the 1991 drawing (Exhibit 44), which in
fact does not correspond to any recorded easement, does not show a land area, purpose of
easement, or beneficiary thereof and doesnot showthe book and pagenumber of anyrecorded
easement, as required bythe Massachusetts Land Court Manual of Instructions for the survey of
lands and preparation of plans (2006) Chapter 2.1.5.28 and 29. Ofcourse Dipietro could not
produce a written easement uponrequest at the hearing, and none has beenfound in searches of
theRegistry. Infact there isno such easement, and the word "easement" onthe 1987 plan more
likely indicated aneasement over theDipietro driveway (where the word appears) for the benefit
ofthe subject property. The claims ofDipietro were all false, known by him to befalse, and
constitute peijuiy. Furthermore, even had any of DiPietro's statements been true, these would not
be objections to reconstruction within theoriginal house footprint.
38. Plaintiflfresponded accurately to the Dipietro perjuries, illustrating these obvious points with
the professional site plan demanded by the ZBA (Exhibit 8), copies ofwhich were before each
member, and three members asked questions and were satisfied, but one ZBA member literally
wailed her rejection ofevery statement ofPlaintiflfand other members' acceptance thereof and
neither asked questions nor made any statement inopposition. When Plaintiflfrecounted the facts
ofthreats and crimes by defendant DiPietro, the ZBA chairman declared that this was merely
"name calling." Plaintiflfasked the ZBA whether it had any further questions, and it had none.
39. As noted in fact 14, at its meeting 7/16/2012 the ZBA voted to deny the variance, and upon
the immediate petition ofPlaintiflfat the hearing, the ZBA failed to assess oraward damages for

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 public taking of private property, in violation of G.L.Chapter 79 §§ 6, 7B, and 10, and inviolation
 ofhis rights guaranteed by the Massachusetts Constitution and the United States Constitution,
 Amendments V and XIV, and of the Civil Rights Act 42 USC §§ 1983 to 1988.
 40. During related state action. Plaintiffbuilt and installed atthe subject property a very strong
 sign prohibiting trespass and parking upon the subject property (photos available). The sign
 consisted of     plywood 18"x48" bolted with four 3/8" carriage bolts and double nuts to two
 4"x6"x8 foot posts mounted in three foot deep holes in the subject property. Within afew days,
 defendant Dipietro with cnminal intent smashed the large strong sign into splinters and pulled it
 from the ground, and has continued his theft ofuse ofthe subject property for parking, in
 violation ofexplicit instructions ofthe Plaintiffand the signs that have been posted there.
 Summary of Fact
41. These facts establish a pattern ofwillful abuse ofoffice by officials ofdefendant city, and both
cnminal acts and torts by defendant DiPietro. The defendants areprincipals in the first degree by
commission, solicitation, protection, and ratification, and are accessories before and after the fact,
in these grave crimes, torts, and abuses ofoffice committed by themselves, their officials, and
employees, against the Plaintiff, with the intent and effect ofseizing the property ofthe Plaintiff
and violating his Constitutional rights.
42. The acts ofdefendant city were clearly made with knowledge and intent todeny the Plaintiff
due process oflaw in the deprivation ofhis property, and to deny him equal protection oflaw
relative toothers similarly situated such as defendant DiPietro (paragraphs 8-9, 13-25,28-39;
exhibits 7-8, 10, 14, 30-38, 40-44); to deny him just compensation for public taking ofhis private
property (paragraphs 3, 7-8, 12-24, 28-32, 35, 38-39; exhibits 11, 14, 30-32), to solicit and ratify
the criminal acts and torts ofdefendant DiPietro and his tenants against the Plaintiffto seize his
property for their own use and benefit, and for the benefit ofRK Trust, and to injure the Plaintiff
financially (paragraphs 8, 13-29, 22-31, 34-38; all exhibits).
43. Defendant Dipietro has acted in collusion with officials ofdefendant city to deny to the
Plaintiffthe established residential use ofthe subject property, and has committed Peijury in
statements to the Zoning Board ofAppeals ofdefendant city, that rebuilding ofthe former home
within its former area on property ofPlaintiff would encroach upon his property, and that he had
a conflicting easement, both false claims (paragraphs 8, 13-29, 22-31, 34-38).

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44. Defendant Dipietro and his tenants at have made threats ofvandalism and arson, to smash the
windows of, and to bumthe home if rebuilt uponproperty of Plaintiff(paragraphs 25-28).
45. Defendant Dipietro and his tenants have destroyed and removed the large strong "No
Parking" sign erected on the subject property, and have unlawfully seized the subject property for
parking ofvehicles, inviolation of notices ofthePlaintiff(paragraphs 25-28, 40).
46. The defendants have persisted in unlawful and discriminatory acts with full knowledge ofthe
rights violated and the injury done, by choice among alternatives, and under color of state law.
47. Every such actofthe defendants has been without theconsent, against thewill, and in
violation of rights of theplaintiff, has injured him intheuseand enjoyment and value of his
property and investment in itsimprovement, and has injured him in his income, ability to pursue
his engineering work, and in his future income.




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Petition For Relief

48. The Plaintiffrespectfully petitions this Court for declaratory judgment, and compensation for
damages by municipal taking ofhis property interests and destruction ofhis substantial effort and
investment to develop the subject property, and consequent major damages to his income and
future income. Stt Memorandum ofLaw, Relief, sections Compensation forDamages. Anorder
shall be provided with appropriate detail.
49. Defendant townwaives immunity beyond its insurance coverage by not seeking such
coverage.


Declaratory Relief: Statutes Unconstitutional As Applied

50. The statutes ofMassachusetts violated by the defendant city, including M.G.L. Ch. 40A
(zoning ordinances) § 6 exemptions) and M.G.L. Ch. 79 (taking of private property) §§ 6, 7B,
and 10 (compensation) contain provisions to exempt the rebuilding ofpre-existing properties from
expost facto ordinances, and to make compensation for constructive taking of property by
municipalities. Despite extensive cogent argument byPlaintiff, all of these provisions were
ignored by the courts ofMassachusetts instate action, and are therefore unconstitutional as
applied. Massachusetts G.L. Ch. 40A and M.G.L. Ch. 79 should therefore beheld by this court to
beunconstitutional as applied, and the state courts severely reprimanded for ignoring the
provisions ofthese statutes which were clearly intended to permit their constitutional application.
Just Compensation For Taking Of Private Property
51. The Plaintiff respectfully petitions this Court for award of compensation for his damages by
municipal taking of the principal useand enjoyment of his property and destruction of his
substantial effort and investment to develop the subject property, hisincome and ability to obtain
future income, and hislaborsand costs of prosecution. The loss of value of the subject property
consists of land value and the value of improvements to replace the home.
Loss of Land Value


52. The loss of land value ofthe subject propertyis its value prior to all acts by defendant town
which reduced its value and made it unmarketable for the principal residential use denied by the
defendant (such as the deprecatory statements of the citybuilding ofiBcial in 2011 to buyers and
the property broker thatthe home would beor was demolished and could notbe rebuilt).
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 54. The city assessor land values ofthe subject property and the two adjacent properties for the
     three years 2010, 2011, and 2012 are shown below and interpolated to2015 (in parentheses).

             City Assessor Land-Onlv Values ofthe Subject Property and Adjoining Properties
         Address        2010           2011            2012                    2015
         2 Lynn St      104,100        119,700       119,700                   124,800
         4 Lynn St      116,200        89,100 (102,672) 3,200 (102,672)        3,200 (113,412)
         6 Lynn St      118,000        135,700       135,700                   135,500


 The valuations by the city assessor are introduced as evidence ofvalue and changes ofvalue.
 Exhibits 30-32b show values of the subject property; Exhibits 33-35b and 36-38b show these
 values for the adjacent properties. These values are already sworn by the defendant city and
 certified by thestate. Valuations bythedefendant city provide a lower limit of value.
 54. These values clearly show the effect on the assessed value ofdeclarations by the building
 official ofdefendant city that the former home could not be rebuilt upon the subject land. The last
assessed value not reflecting this injury isthe 2010 land-only value of$116.200.
55. The true Assessor land values ofthe subject property at4 Lynn St may be found by
interpolating between thetwo adjoining properties, both inthe same residential zone and use. The
interpolated values are shown in parentheses in the table above, computed as shown below.

           2015 Assessed Land Values ofthe Subject Property and Adjoining Properties
        Address      Area rsq.ft.l 2015 Assessed Land value Interpolated Land Value
        2 Lynn St      4439            124,800                       124,800
        4 Lynn St      1841           3,200                          113.411.80
        6 Lynn St      6880            135,500                       135,500
Both adjoining properties fit the linear rule of$105,341.87 per house lot plus $4.38345 per sq. ft.
oflot area, so the 2015 Assessor land value ofthe subject property between them at 4Lynn St is
       $105,341.87 + $4.38345 (1841 sq.ft.) = $113.411.80

This value is based directly and solely upon valuations already sworn by the defendant city and
certified by the state. Ifa lower value were asserted on behalfofdefendant, this would establish a
general falsification ofassessed values by defendant city, which must reduce all property values in
the city by the same ratio and prove that this is done. No appraisal allowed in evidence may treat
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the subject property differently from the adjoining properties, nor consider properties in other
zones or uses than theresidential use denied bythe defendant city. To avoid litigation of city
valuations already sworn by the defendant city and approved by the state, the Assessor-based
value of$113,411.80) is taken asan extreme low limit of land value ofthe subject property.
However, assessor values seldom reflect Fair Market Value, the criterion ofJust Compensation.
55b. Fair Market Value is determined by independent appraisal. Independence requires that the
appraiser have no affiliation, residency, ordependency atornear the defendant city. The FMV of
the subject land only as determined by the independent appraiser service Zillow was $189,952 in
2014 (see Exhibit 26b). This service posts appraiser values ofall properties inthe United States
on its website Zillow.com. It has not posted appraised values forthis property since 2014 dueto
attempts by agents ofthe defendants to deprecate the property during this litigation, and due to
the fact that the market value has beendestroyed by these unlawful acts ofthe defendants.
55c. The Zillow value of the subject property for a settlement in6/2016 istherefore scaled from
the2014 value inproportion to theZillow average home value increases for thecity ofPeabody
from 6/2014 to 6/2016 (anincrease of333,000 to 360,000 or 9.1%) yielding a value of $207,220
for June, 2016. This is the fairest estimate of market value of the subject land only, had it not been
subject to theft and destruction by the defendants.
56. The residual value ofthe land after denial ofits residential principal use is extremely low
becauseno structure can be builtthere under present zoningregulations, so it can onlybe used as
parking, which is permitted only as an "accessory use" incidental to residential use, sothatthe
landwould have to be combined with an adjoining lot to be used at all. Therefore it has value only
to the criminal neighbor with insufficient parking, who(although he offered $1,000 bytelephone),
has refused to negotiate so long as he is able to use it without purchase. Even were it sold for
$1,000, the cost of sale includes attorney fees, recording costs, and taxes during the saleperiod,
which at the timeofPlaintiffs purchase amounted to $1,040, so that there is negative residual
value. In fact, capitalization of the continuing taxation bythe town would yield a negative net
value of several thousand dollars. The denial of residential use therefore precludes a fair market
and leaves a negative land value. Plaintiff reserves the decision whether to retain the lot and
request compensation forthe negative capitalized value of taxation, or to grant it to the defendant
upon payment by defendant ofjust compensation for denial of the principal use.

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Loss of Value of Improvements

57. The loss of value of improvements hereis limited to the improvement value added by Plaintiff,
primarily his site planning and engineering services and other expenses to replace the former
home, which are now losses caused by denial of residential use by defendant city.
58. Because the United States Constitution Amendments V and XTV guarantee that private
property may not be taken for public use without just compensation. Plaintiffexpenses to replace
the home were reasonably based upon rightful continuation ofresidential use. The eight months of
planning and engineering services are more than usual for home construction, due to wetlands
permitting and the prolonged effort to obtain the variance that was denied. These expenses would
be part of the improvement cost ofthe propertyhad construction been permitted by the defendant
city, and together with the land value, establish the "investment backed expectation ofvalue"
which is the criterion ofvalue upon which compensation is based.
59. Because exact replacement ofa home is by right. Plaintifforiginally madefiill building plansto
replace the former homein its original size and position, and submitted these to the defendant city
building ofScial with the application for building permit. Advised by the building ofScial that
something closer to the present setback requirements, and with better parking access, was more
likelyto meet with ZBA approval. Plaintiffmade four further sets ofbuilding plans, and submitted
one or two ofthese to the building official as potential alternatives. During proceedings to obtain
approval of defendant city Conservation Commission, Plaintiffwas required to make further
changes to elevate the structure on piers above the 100-yearflood plain. A total of six building
and site plans, including four complete structural plans, were required to meet requirements of
defendant city. Plaintiff estimates that well over 600 hours ofengineering and planning effort
(four full time months) was required to make these building and site plans.
60. In addition. Plaintiffwas required by this elaborate planning process to read, understand, and
apply the laws ofMassachusetts and the ordinances of defendant city regarding zoning acts,
building, and wetlands protection, an effort of several hundred hours. Plaintiffwas also required
to prepare substantial documents and argument in support ofthe Conservation RDA and NOI
process, as well as to notify and provide documentation to dozens of abuttors, publish notices of
four meetings, etc., an effort ofseveral hundred hours. In addition. Plaintiffwas required by
defendant city to travel round trip between his present residence in Springvale, Maine and

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Peabody, Massachusettsseven or eight times to attend meetings, and made four or five additional
trips to the project site for planningpurposes, a total of about seventy hours. PlaintifiF was also
forced to travel between Florida (where he was settlingthe estate of his mother) and Maine about
twice as often as he would otherwise have found necessary(three additional trips), so as to attend
meetings ofthe CC and ZBA which were continued or postponed, a total expense ofabout $1000
per trip and one hundred hours ofadditional travel time. A total expenditure of2000 hours and
cash outlays of about $8,000 are estimated.
        The rate charged for these services by local contractors exceeds the Plaintiffs contract
engineering rate, and services of contractors at higher rates were used only where required, so
that the Plaintiffs rate for these services represents a minimum cost. Plaintiff demands
compensation for his services not less than his normal engineering pay rate of $70 hourly (on a W-
2 employment basis through an agency), and for all required services performed by paid
contractors, with the related costs oftravel and other cash outlays, as well as real estate tax paid
at and since purchase. The total compensation for services and expenses ofPlaintiff is therefore
about $150,000. In addition. Plaintiffmust be compensated for any tax upon compensatory
damages in excess of his income tax rate.


Value as average value of two adjacent older homes

61. Because the Plaintiff has had to spend eight full time months in planning and permitting, and
more time in obtaining compensation, he has alreadyinvested most ofthe labor normally required
to build a home (which is about one man-year). Because the remaining labor and materials cost is
comparable to the renovation cost of an older home, sufficient compensation for loss ofthis labor
and land value would permit purchase ofan older home in a similarlocation relative to Boston.
For example, the 2015 Zillowvalues(land with improvements) of two older homesadjoining the
subject property ($298,000 for 6 L5mn St. and $323,000 for 8 Lynn St.) provide a further realistic
basis or cross-check for compensation of damages. The average ofthese values is $310.500. a
more accurate estimate of sufficient compensation ofthe real loss ofthe Plaintiffcaused by
defendants.




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Value Scaled from Sales of Nearby Homes

62. The average value of homes sold within 1000 yards of the subject property inthefirst quarter
of 2013 is $318,300. More recent data is lacking. This is scaled by the increase of appraised
values forPeabody from that period to June 2016 (20.7%) to determine the average sale price of
nearby homes at a settlement date in June 2016, which is $384,158.
Estimates of Total Property and Investment Loss Due to Public Taking

63. The following estimates of total propertyloss ofPlaintiffdue to public taking are based upon
the independent methods detailed above.
S310,500       Value as averageofthe two adjacent older homes in 2015 (see below)
$357,220       Fair Market Value ofland in June 2016 (above) plusPlaintiffexpenses (above)
$384.158       Value of nearbyComparable Homes sold in 2013 (Exh. 24) scaled to June 2016
$350,626       Average of the above three valuation methods

Consequent Damages: Loss of Employment and Future Income
64. Plaintiffhas lived in southern Maine since 1993 and has commuted to engineering work in the
Boston area, the location of nearly all engineering work in his field. Following a deep vein
thrombosis in 2009 which limits his commuting time to less than one hour, the Plaintiffcannot
commute to engineering work in the Boston area. Engineering employment is usually limited to
local applicants, necessitating residence closer to Boston. Without a residence near Boston,
therefore, the Plaintiff can no longer obtain engineeringwork. For this reason Plaintiffsought and
found the means to live at the subject property within 30 minutes ofmost engineering work near
Boston, and without this means could not afford a home close enough to pursue his engineering
work. Without the residential value of the subject property, the Plaintiffwas denied the means to
obtain work, and has had no engineering income since2009. Despite a distinguished engineering
career consisting of over thirty major projects from 1978 to 2009, the Plaintiffhas been unable to
obtain permanent engineering work despite over 2,900 applications since 2009. The value to the
Plaintiff of lost income during this period is his engineeringrate of $70 hourly as a W-2 employee
(plus the tax differential for payment ofcompensation) from the Fall of 2012 when the home
would have been completed at the subject property, to a settlement date in June of 2016, about
$525,000 gross income, less any temporary income in this period.



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65. In addition, this denial of recent engineering work has probably precluded future permanent
engineering work. Employers and agents consistently cite lack of permanent employment inthe
past three years as the cause for denying thePlaintiffemployment. The lack of ability to commute
to Boston during this period has therefore ended theengineering career ofthe Plaintiffseveral
years before retirement, apart from occasional temporary work. The Plaintiffwas under the need
to work until age 70due to major financial losses. The future lost income ofthePlaintiffdue to
denial of residential use of his property, is therefore $140,000 annually from a settlement date in
June of2016, until he reachesthe age of 70 (Fall of2022), a total of $735,000.

Demand of PlaintifTfor Compensatory Relief

66. Paragraph 68 sums the compensatory reliefdue.
67. The damage award issubject to capital gains taxpayable by Plaintiff, which ifit exceeds his
income tax rate, must be added to the damages so thatthenetloss to thePlaintiffis compensated.
68. It would be fair to deduct from this late career incomethe additionalcompensation to be paid
to the Plaintifffor his labor in prosecution ofthis matter since late 2012, as this represents income
for his labor during the same period. If the award is made inJune 2016, thetotal compensation
due to the Plaintiff is therefore:

        $350,626        Average estimate ofProperty and Investment Loss Due to Public Taking
          70,000        Costs of prosecutionto the present
         385,000        Lost income from home completion in Fall 2012 to June 2016
                        ($525,000 less $140,000 services ofPlaintiffduring this period)
        $805,626        Loss of the Plaintiff to the present

          70,000        Estimated further costs of prosecution
        $735,000        Probableresulting lost income from June 2016 to Fall 2022
                        (5.25 years at $140,000 less any employment income during this period)
      $1,610,626        Net loss ofPlaintiff(less employment income to Fall 2022)




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OATH


       I do solemnly swearthat all statements of fact in the foregoing document are true and
correct to the best of myknowledge andbelief and that a true copythereofhas beenserved this
day by deposit ofcertified First Class U.S. mail addressed to^^^ch def^dant.

                                                     JoJjit S. Barth, Plaintiff, pro se

Certificate


       The above-named John S. Barth appeared before me and stated thatthe foregoing
document is his free act and deed.

                                                     benee mcdougal
Before/ine                                              notary PUBLIC


             taiy Public             State ofMaine, County of York




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